·.~                                                                                    .. _-_ .. _.-._ .. -
      .... _--_ .. _--~~--~--------~------------------------._---------------------------~                    _._ .... _.. _-----




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                       12                                             UNITED STATES DISTRICT COURT

                       13                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

                       14                                  AND THE NORTHERN DISTRICT OF CALIFORNIA

                       15

                       16       RALPH COLEMAN, et aI.,                                            No. 2:90-cv-00520 LKK JFM P (E.D. Cal.)

                       17                                Plaintiffs,
                                          v.
                       18
                                ARNOLD SCHWARZENEGGER, et aI.,
                       19
                                                         Defendants.                                      r
                       20       CARLOS PEREZ, et aI.,                                             No. C-05-05241 JSW (N.D. Cal.)
                       21                                Plaintiffs,
                       22
                                          v.
                                MATTHEW CATE, et aI.,
                       23
                                                         Defendants
                       24

                       25

                       26

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               ~
                                                                                               - 1-
                                 DEFENDANTS' RESPONSE TO ORDER TO SHOW CAUSE RE SPACE
                                                                                                                                                  1626739.2
                               . COORDINATION (2:90-CV-00520 LKK JFM P)
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 1   JOHN ARMSTRONG, et aI.,                       C 94-2307 CW (N.D. Cal.)
 2                    Plaintiffs,
            v.
 3
     ARNOLD SCHWARZENEGGER, et aI.,
 4
                      Defendants
 5
     MARCIANO PLATA, et aI.,                       No. C01-1351 TEH (N.D. Cal.)
 6
                      Plaintiffs,                  DEFENDANTS' RESPONSE TO ORDER
 7                                                 TO SHOW CAUSE RE SPACE
            v.                                     COORDINATION
 8
     ARNOLD SCHWARZENEGGER, et aI.,
 9
                      !Defendants.
10
            On September 5, 2008, an Order to Show Cause was issued as to why the
11
     coordination agreement reached by the Receiver in Plata, the Special Master in
12
     Coleman, and the Court Representatives in Armstrong and Perez regarding the Space
13
     Coordination Agreement should not be adopted as an Order of all four Courts. The
14
     parties were ordered to file responses to the Order to Show Cause on or before
15
     September 26,2008. Defendants now file this respon~e to the Court's Order.)
16
            Defendants support the proposed Space Coordination Agreement because it will
17
     result in time and cost efficiencies, while ensuring that there is necessary space to
18
                                                                                    (

     support the medical, mental health, disability and dental programs. The proposal
19
     contemplates that office space planning be managed and handled by a single unit,
20
     namely the Receiver's Plata Support Division Business Operations Unit. (Order to Shq~
21
     Cause, ("OSC") at 4:10-12.)
22
            However, the Regeiver has stated that he intends to create an entirely new state
23
     agency that has jurisdiction over California prisoners. To the extent this single unit is a
24
     step toward creating a neW'and distinct health agency, Defendants object to this Space
25
     Coordination Agreement.
26
            Defendants look forward to working with the Receiver to manage inmate
27
     healthcare. To that end, Defendant's request that they be consulted throughout the
28
             .                                   -2-
     DEFENDANTS' RESPONSE TO ORDER TO SHOW CAUSE RE SPACE
                                                                                          1626739.2
     COORDINATION
 Case 2:90-cv-00520-KJM-SCR         Document 3051          Filed 09/26/08   Page 3 of 5


 1   space planning process about cost, space acquisition, and construction plans, and have

 2   the opportunity to comment and object on any project sought by the Receiver both

 3   informally and formally to the Court, if necessary.

 4   DATED: September 26, 2008                         HANSON BRIDGETT LLP
 5
 6                                                  By: Ilsll
                                                        PAUL B. MELLO
 7                                                     Attorneys for Defendants
                                                       Arnold Schwarzenegger, et al.
 8
 9
     DATED: September 26,2008                          EDMUND G. BROWN JR. .
10                                                     Attorney General of the State of
                                                       California
11

12
                                                    By: Ilsll
13                                                    /ROCHELLE C. EAST
                                                       Senior Assistant Attorney General
14                                                     Attorneys for Defendants
                                                       Arnold Schwarzenegger, et al.
15

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                                                                  )

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     DEFENDANTS' RESPONSE TO ORDER TO SHOW CAUSE RE SPACE
                                                                                          1626739.2
     COORDINATION
  Case 2:90-cv-00520-KJM-SCR                 Document 3051    Filed 09/26/08      Page 4 of 5


                        DECLARATION OF SERVICE BY U.S. MAIL


Case Name:     Ralph Coleman, et aL v. Schwarzeneggar, et aL
Case No.:      2:90-cv-00520 LKK. JFM P (B.D. Cal.)

Case Name:     Carlos Perez, et aL v. Matthew Cate, et aL
Case No.:      C-05-05241 JSW (N.D. Cal.)

Case Name: John Armstrong, et aL v Arnold Schwarzenegger, et aL
Case No.: " C 94-2307 CW (N.D. Cal.)
                                         (




Case Name:     Marciano Plata, et aL v. Schwarzenegger, et aL
Case No.:      No. COl-1351 THE (N.D. Cal.)

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or older
and not a party to this matter. I am familiar with the business practice at the Office ofthe Attorney
General for collection and processing of correspondence for mailing with the United States Postal
Service. In accordance with that practice, correspondence placed in the internal mail collection
system at the Office ofthe Attorney General is deposited with the United States Postal Service that
same day in the ordinary coUrse ofbusiness.

On September 26, 2008, I served the attached
                                     I
DEFENDANTS' RESPONSE TO ORDER TO SHOW CAUSE RE SPACE COORDINATION

by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully prepaid, in
the internal mail collection system at the Office ofthe Attorney General at 455 Golden Gate Avenue,
Suite 11000, San Francisco, CA 94102-7004, addressed as follows:                     '


Honorable Thelton B. Henderson                        Joseph D. Scalzo
United States District Court                          3785 N. 156th Lane
450 Golden Gate Avenue                                Goodyear, AZ 85395
San Francisco, CA 94102
(hand delivered)                                      Jay Shulman
                                                      9647 Hilldale Drive
Honorable Lawrence K. Karlton                         Dallas, TX 75231
Robert T. Matsui United States Courthouse
501 I Street
Sacramento, CA 95814
(messenger service)
    Case 2:90-cv-00520-KJM-SCR           Document 3051         Filed 09/26/08     Page 5 of 5


I declare under penalty ofperjury under the laws ofthe State of California the foregoing is true and
correct and that this declaration was executed on September 26, 2008, at San Francisco, California.



                 R. Panganiban                                   /S/ R. Panganiban
                 Declarant                                           Signature


POS9.26.08.wpd
